21-22108-rdd   Doc 111-1   Filed 09/13/21 Entered 09/13/21 16:35:26   Exhibit 1 -
                               Budget Pg 1 of 5



                               EXHIBIT 1
                                                                                        21-22108-rdd     Doc 108-1
                                                                                                             111-1       Filed 09/09/21
                                                                                                                               09/13/21 Entered 09/09/21
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                                                                                                                        Proposed
                                                                                                                              Budget
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                                                                                                                                             105
                                                                                                                          The Williamsburg Hotel of 21
                                                                                                                              96 Wythe Acquisition LLC
                                                                                                                        9- Week Budget - Cash Collateral Motion


                                                  Sep-21 (8/30 to 9/5)   Sep-21 (9/6 to 9/12)   Sep-21 (9/13 to 9/19)       Sep-21 (9/20 to 9/26)    Sep-21 (9/27 to 10/3)   Oct-21 (10/4 to 10/10)   Oct-21 (10/11 to 10/17)   Oct-21 (10/18 to 10/24)   Oct-21 (10/25 to 10/31)
                                                     PTD           %        PTD           %        PTD           %             PTD           %          PTD           %          PTD          %           PTD          %            PTD          %            PTD          %

Number of Rooms                                          147                    147                    147                         147                      147                     147                      147                       147                       147
Days                                                       7                      7                      7                           7                        7                       7                        7                         7                         7
Available Rooms                                        1,029                  1,029                  1,029                       1,029                    1,029                   1,029                    1,029                     1,029                     1,029
Occupied Rooms                                           772                    756                    761                         772                      767                     797                      803                       782                       772
Occupancy Percent                                     75.00%                 73.50%                 74.00%                      75.00%                   74.50%                  77.50%                   78.00%                    76.00%                    75.00%
Average Daily Rate                                   $345.00                $335.00                $332.50                     $342.50                  $345.00                 $347.50                  $330.00                   $350.00                   $352.50
RevPAR                                               $258.75                $246.23                $246.05                     $256.88                  $257.03                 $269.31                  $257.40                   $266.00                   $264.38

Revenue
 Rooms                                              $266,254 65.65%        $253,366 65.43%        $253,185 66.27%             $264,324 67.16%          $264,479 68.04%         $277,123 70.73%          $264,865 71.75%           $273,714 70.49%           $272,042 67.75%
 Food & Beverage                                    $130,000 32.05%        $125,000 32.28%        $120,000 31.41%             $120,000 30.49%          $115,000 29.58%         $105,000 26.80%           $95,000 25.74%           $105,000 27.04%           $120,000 29.88%
 Rental & Other Income                                $9,319  2.30%          $8,868  2.29%          $8,861  2.32%               $9,251  2.35%            $9,257  2.38%           $9,699  2.48%            $9,270  2.51%             $9,580  2.47%             $9,521  2.37%
Gross Revenue                                       $405,573 100.00%       $387,233 100.00%       $382,047 100.00%            $393,576 100.00%         $388,735 100.00%        $391,822 100.00%         $369,135 100.00%          $388,294 100.00%          $401,563 100.00%

Department Expenses
 Rooms
   Payroll
       Salaries & Wages                              $43,282    16.26%      $41,671    16.45%      $41,648    16.45%           $43,041    16.28%        $43,060    16.28%       $44,640    16.11%        $43,108    16.28%         $44,214    16.15%         $44,005    16.18%
       Payroll Taxes                                  $4,977     1.87%       $4,792     1.89%       $4,790     1.89%            $4,950     1.87%         $4,952     1.87%        $5,134     1.85%         $4,957     1.87%          $5,085     1.86%          $5,061     1.86%
       Employee Benefits                              $3,246     1.22%       $3,125     1.23%       $3,124     1.23%            $3,228     1.22%         $3,229     1.22%        $3,348     1.21%         $3,233     1.22%          $3,316     1.21%          $3,300     1.21%
       Contract Labor                                   $666     0.25%         $633     0.25%         $633     0.25%              $661     0.25%           $661     0.25%          $693     0.25%           $662     0.25%            $684     0.25%            $680     0.25%
   Total Payroll                                     $52,171    19.59%      $50,222    19.82%      $50,194    19.83%           $51,879    19.63%        $51,902    19.62%       $53,815    19.42%        $51,961    19.62%         $53,299    19.47%         $53,046    19.50%

   Other Expenses
       Allocated F&B Payroll                          $2,823     1.06%       $2,738     1.08%       $2,652     1.05%            $2,652     1.00%         $2,567     0.97%        $2,396     0.86%         $2,225     0.84%          $2,396     0.88%          $2,652     0.97%
       Amenities & Supplies                           $4,659     1.75%       $4,434     1.75%       $4,431     1.75%            $4,626     1.75%         $4,628     1.75%        $4,850     1.75%         $4,635     1.75%          $4,790     1.75%          $4,761     1.75%
       Dues, Subscriptions & Services                 $1,997     0.75%       $1,900     0.75%       $1,899     0.75%            $1,982     0.75%         $1,984     0.75%        $2,078     0.75%         $1,986     0.75%          $2,053     0.75%          $2,040     0.75%
       Linen & Uniforms - Laundry & Replacement      $10,650     4.00%      $10,135     4.00%      $10,127     4.00%           $10,573     4.00%        $10,579     4.00%       $11,085     4.00%        $10,595     4.00%         $10,949     4.00%         $10,882     4.00%
       Travel Agent Commissions                      $26,625    10.00%      $25,337    10.00%      $25,319    10.00%           $26,432    10.00%        $26,448    10.00%       $27,712    10.00%        $26,486    10.00%         $27,371    10.00%         $27,204    10.00%
   Total Other Expenses                              $46,755    17.56%      $44,543    17.58%      $44,428    17.55%           $46,266    17.50%        $46,205    17.47%       $48,121    17.36%        $45,927    17.34%         $47,558    17.38%         $47,539    17.47%

 Total Rooms                                         $98,926    37.15%      $94,764    37.40%      $94,622    37.37%           $98,145    37.13%        $98,108    37.09%      $101,936    36.78%        $97,888    36.96%        $100,858    36.85%        $100,585    36.97%

 Food & Beverage
   Payroll
       Salaries & Wages                              $47,050 36.19%         $45,625 36.50%         $44,200 36.83%              $44,200 36.83%           $42,775 37.20%          $39,925 38.02%           $37,075 39.03%            $39,925 38.02%            $44,200 36.83%
       Payroll Taxes                                  $5,881   4.52%         $5,703   4.56%         $5,525   4.60%              $5,525   4.60%           $5,347   4.65%          $4,991   4.75%           $4,634   4.88%            $4,991   4.75%            $5,525   4.60%
       Employee Benefits                              $2,823   2.17%         $2,738   2.19%         $2,652   2.21%              $2,652   2.21%           $2,567   2.23%          $2,396   2.28%           $2,225   2.34%            $2,396   2.28%            $2,652   2.21%
       Contract Labor                                 $1,300   1.00%         $1,250   1.00%         $1,200   1.00%              $1,200   1.00%           $1,150   1.00%          $1,050   1.00%             $950   1.00%            $1,050   1.00%            $1,200   1.00%
       Allocated to Other Departments                ($5,054) -3.89%        ($4,867) -3.89%        ($4,753) -3.96%             ($4,817) -4.01%          ($4,705) -4.09%         ($4,551) -4.33%          ($4,255) -4.48%           ($4,531) -4.32%           ($4,861) -4.05%
   Total Payroll                                     $52,001 40.00%         $50,448 40.36%         $48,824 40.69%              $48,760 40.63%           $47,134 40.99%          $43,811 41.72%           $40,629 42.77%            $43,830 41.74%            $48,716 40.60%

   Other Expenses
       Cost of Goods Sold                            $31,200    24.00%      $30,000    24.00%      $28,800    24.00%           $28,800    24.00%        $27,600    24.00%       $25,200    24.00%        $23,000    24.21%         $25,200    24.00%         $28,800    24.00%
       Equipment, Supplies & Services                $14,300    11.00%      $13,750    11.00%      $13,200    11.00%           $13,200    11.00%        $12,650    11.00%       $11,550    11.00%        $10,450    11.00%         $11,550    11.00%         $13,200    11.00%
       Marketing & Promotion                         $12,350     9.50%      $11,875     9.50%      $11,400     9.50%           $11,400     9.50%        $10,925     9.50%        $9,975     9.50%         $9,025     9.50%          $9,975     9.50%         $11,400     9.50%
   Total Other Expenses                              $57,850    44.50%      $55,625    44.50%      $53,400    44.50%           $53,400    44.50%        $51,175    44.50%       $46,725    44.50%        $42,475    44.71%         $46,725    44.50%         $53,400    44.50%

 Total Food & Beverage                              $109,851    84.50%     $106,073    84.86%     $102,224    85.19%          $102,160    85.13%        $98,309    85.49%       $90,536    86.22%        $83,104    87.48%         $90,555    86.24%        $102,116    85.10%

Total Departmental Expenses                         $208,776    51.48%     $200,838    51.86%     $196,846    51.52%          $200,305    50.89%       $196,417    50.53%      $192,471    49.12%       $180,992    49.03%        $191,413    49.30%        $202,702    50.48%

Departmental Profit
   Rooms                                            $167,328 62.85%        $158,601 62.60%        $158,564 62.63%             $166,180 62.87%          $166,371 62.91%         $175,187 63.22%          $166,977 63.04%           $172,856 63.15%           $171,457 63.03%
   Food & Beverage                                   $20,149 15.50%         $18,927 15.14%         $17,776 14.81%              $17,840 14.87%           $16,691 14.51%          $14,464 13.78%           $11,896 12.52%            $14,445 13.76%            $17,884 14.90%
   Rentals & Other Income                             $9,319 100.00%         $8,868 100.00%         $8,861 100.00%              $9,251 100.00%           $9,257 100.00%          $9,699 100.00%           $9,270 100.00%            $9,580 100.00%            $9,521 100.00%
Gross Operated Income                               $196,796 48.52%        $186,396 48.14%        $185,201 48.48%             $193,271 49.11%          $192,319 49.47%         $199,351 50.88%          $188,143 50.97%           $196,881 50.70%           $198,862 49.52%




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                                                                                                                           The Williamsburg Hotel of 21
                                                                                                                               96 Wythe Acquisition LLC
                                                                                                                         9- Week Budget - Cash Collateral Motion


                                                   Sep-21 (8/30 to 9/5)   Sep-21 (9/6 to 9/12)   Sep-21 (9/13 to 9/19)       Sep-21 (9/20 to 9/26)    Sep-21 (9/27 to 10/3)   Oct-21 (10/4 to 10/10)   Oct-21 (10/11 to 10/17)   Oct-21 (10/18 to 10/24)   Oct-21 (10/25 to 10/31)
                                                      PTD           %        PTD           %        PTD           %             PTD           %          PTD           %          PTD          %           PTD          %            PTD          %            PTD          %
General Hotel Expenses
 Administrative and General
   Payroll
       Payroll                                        $39,472    9.73%       $39,223    10.13%      $39,153    10.25%           $39,309    9.99%         $39,243    10.10%       $39,285    10.03%        $38,977    10.56%         $39,237    10.11%         $39,418    9.82%
       Allocated F&B Payroll                             $811    0.20%          $774     0.20%         $764     0.20%              $787    0.20%            $777     0.20%          $784     0.20%           $738     0.20%            $777     0.20%            $803    0.20%
       Banking & CC Processing Fees                   $11,356    2.80%       $10,843     2.80%      $10,697     2.80%           $11,020    2.80%         $10,885     2.80%       $10,971     2.80%        $10,336     2.80%         $10,872     2.80%         $11,244    2.80%
       Admin & General Expenses                        $9,734    2.40%        $9,294     2.40%       $9,169     2.40%            $9,446    2.40%          $9,330     2.40%        $9,404     2.40%         $8,859     2.40%          $9,319     2.40%          $9,638    2.40%
       Professional Fees (US Trustee)                  $3,125    0.77%        $3,026     0.78%       $2,986     0.78%            $3,033    0.77%          $2,986     0.77%        $2,960     0.76%         $2,829     0.77%          $2,942     0.76%          $3,054    0.76%
       Bankruptcy Professional Fees                    $5,000    1.23%        $5,000     1.29%       $5,000     1.31%            $5,000    1.27%         $10,000     2.57%       $10,000     2.55%        $10,000     2.71%         $10,000     2.58%         $10,000    2.49%
 Total Administrative & General                       $69,498    17.14%      $68,160    17.60%      $67,769    17.74%           $68,595    17.43%        $73,222    18.84%       $73,404    18.73%        $71,739    19.43%         $73,147    18.84%         $74,156    18.47%

 Information & Telecom
        Cost of Phone & Internet Services              $1,420     0.35%       $1,355     0.35%       $1,337    0.35%             $1,378    0.35%           $1,361   0.35%         $1,371     0.35%         $1,292    0.35%           $1,359    0.35%           $1,405    0.35%
        System Expenses                                $4,056     1.00%       $3,872     1.00%       $3,820    1.00%             $3,936    1.00%           $3,887   1.00%         $3,918     1.00%         $3,691    1.00%           $3,883    1.00%           $4,016    1.00%
        Dues, Subscriptions, Supplies & Services       $2,028     0.50%       $1,936     0.50%       $1,910    0.50%             $1,968    0.50%           $1,944   0.50%         $1,959     0.50%         $1,846    0.50%           $1,941    0.50%           $2,008    0.50%
 Total Information & Telecom                           $7,503     1.85%       $7,164     1.85%       $7,068    1.85%             $7,281    1.85%           $7,192   1.85%         $7,249     1.85%         $6,829    1.85%           $7,183    1.85%           $7,429    1.85%

 Sales & Marketing
   Payroll
       Payroll                                        $14,081     3.47%      $13,954     3.60%      $13,918    3.64%            $13,998    3.56%         $13,964    3.59%        $13,986     3.57%        $13,828    3.75%          $13,961    3.60%          $14,053    3.50%
       Allocated F&B Payroll                             $608     0.15%         $581     0.15%         $573    0.15%               $590    0.15%            $583    0.15%           $588     0.15%           $554    0.15%             $582    0.15%             $602    0.15%
       Dues, Subscriptions & Services                  $5,070     1.25%       $4,260     1.10%       $4,203    1.10%             $4,329    1.10%          $4,276    1.10%         $4,310     1.10%         $4,060    1.10%           $4,271    1.10%           $4,417    1.10%
       Marketing                                       $8,517     2.10%       $8,132     2.10%       $8,023    2.10%             $8,265    2.10%          $8,163    2.10%         $8,228     2.10%         $7,752    2.10%           $8,154    2.10%           $8,433    2.10%
 Total Sales & Marketing                              $28,276     6.97%      $26,926     6.95%      $26,716    6.99%            $27,183    6.91%         $26,987    6.94%        $27,112     6.92%        $26,194    7.10%          $26,969    6.95%          $27,506    6.85%

 Property Operations & Maintenance
   Payroll
       Payroll                                        $19,315     4.76%      $18,970     4.90%      $18,873    4.94%            $19,089    4.85%         $18,999    4.89%        $19,056     4.86%        $18,631    5.05%          $18,990    4.89%          $19,239    4.79%
       Allocated F&B Payroll                             $811     0.20%         $774     0.20%         $764    0.20%               $787    0.20%            $777    0.20%           $784     0.20%           $738    0.20%             $777    0.20%             $803    0.20%
       Repairs & Maintenance                          $13,111     3.23%      $12,745     3.29%      $12,641    3.31%            $12,872    3.27%         $12,386    3.19%        $12,445     3.18%        $12,014    3.25%          $12,183    3.14%          $12,429    3.10%
       Supplies                                        $6,320     1.56%       $6,090     1.57%       $6,026    1.58%             $6,170    1.57%          $5,609    1.44%         $5,648     1.44%         $5,114    1.39%           $5,354    1.38%           $5,520    1.37%
 Total Property Operations & Maintenance              $39,557     9.75%      $38,580     9.96%      $38,304    10.03%           $38,918    9.89%         $37,771    9.72%        $37,932     9.68%        $36,497    9.89%          $37,304    9.61%          $37,991    9.46%

 Utility Costs                                        $11,153     2.75%      $10,649     2.75%      $10,506    2.75%            $10,823    2.75%         $10,690    2.75%        $10,775     2.75%        $10,151    2.75%          $10,678    2.75%          $11,043    2.75%

Total Undistributed Expenses                         $155,988    38.46%     $151,478    39.12%     $150,363    39.36%          $152,800    38.82%       $155,861    40.09%      $156,472    39.93%       $151,409    41.02%        $155,282    39.99%        $158,125    39.38%

Gross Operating Profit                                $40,808    10.06%      $34,917     9.02%      $34,839    9.12%            $40,471    10.28%        $36,458    9.38%        $42,879    10.94%        $36,734    9.95%          $41,600    10.71%         $40,737    10.14%

  Management Fee                                           $0     0.00%           $0     0.00%           $0    0.00%                 $0     0.00%             $0    0.00%             $0     0.00%             $0    0.00%               $0     0.00%              $0     0.00%
Income Before Fixed Charges                           $40,808    10.06%      $34,917     9.02%      $34,839    9.12%            $40,471    10.28%        $36,458    9.38%        $42,879    10.94%        $36,734    9.95%          $41,600    10.71%         $40,737    10.14%

Fixed Charges
  Property Taxes                                      $30,000     7.40%      $30,000     7.75%      $30,000    7.85%            $30,000    7.62%         $30,000    7.72%        $30,000     7.66%        $30,000    8.13%          $30,000    7.73%          $30,000    7.47%
  Total Insurance                                      $4,000     0.99%       $4,000     1.03%       $4,000    1.05%             $4,000    1.02%          $4,000    1.03%         $4,000     1.02%         $4,000    1.08%           $4,000    1.03%           $4,000    1.00%
Total Fixed Charges                                   $34,000     8.38%      $34,000     8.78%      $34,000    8.90%            $34,000    8.64%         $34,000    8.75%        $34,000     8.68%        $34,000    9.21%          $34,000    8.76%          $34,000    8.47%

EBITDA                                                 $6,808     1.68%         $917     0.24%          $839   0.22%             $6,471    1.64%           $2,458   0.63%         $8,879     2.27%         $2,734    0.74%           $7,600    1.96%           $6,737    1.68%




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                                                                                                                               The Williamsburg Hotel of 21
                                                                                                                                   96 Wythe Acquisition LLC
                                                                                                                             9- Week Budget - Cash Collateral Motion


                                                  Nov-21 (11/1 to 11/7)   Nov-21 (11/8 to 11/14)   Nov-21 (11/15 to 11/21)       Nov-21 (11/22 to 11/28)   Dec-21 (11/29 to 12/5)   Dec-21 (12/6 to 12/12)   Dec-21 (12/13 to 12/19)   Dec-21 (12/20 to 12/26)   Dec-21 (12/27 to 1/2)
                                                     PTD           %         PTD           %          PTD          %                PTD          %            PTD           %          PTD           %          PTD           %           PTD           %           PTD           %

Number of Rooms                                          147                     147                      147                           147                       147                      147                      147                       147                       147
Days                                                       7                       7                        7                             7                         7                        7                        7                         7                         7
Available Rooms                                        1,029                   1,029                    1,029                         1,029                     1,029                    1,029                    1,029                     1,029                     1,029
Occupied Rooms                                           844                     839                      813                           746                       839                      823                      808                       736                       746
Occupancy Percent                                     82.00%                  81.50%                   79.00%                        72.50%                    81.50%                   80.00%                   78.50%                    71.50%                    72.50%
Average Daily Rate                                   $265.00                 $257.50                  $247.50                       $255.00                   $260.00                  $270.00                  $265.00                   $252.50                   $300.00
RevPAR                                               $217.30                 $209.86                  $195.53                       $184.88                   $211.90                  $216.00                  $208.03                   $180.54                   $217.50

Revenue
 Rooms                                              $223,602 74.80%         $215,949 72.95%          $201,195 72.31%               $190,236 71.95%           $218,045 74.37%          $222,264 73.47%          $214,058 73.42%           $185,773 68.86%           $223,808 69.58%
 Food & Beverage                                     $67,500 22.58%          $72,500 24.49%           $70,000 25.16%                $67,500 25.53%            $67,500 23.02%           $72,500 23.96%           $70,000 24.01%            $77,500 28.73%            $90,000 27.98%
 Rental & Other Income                                $7,826  2.62%           $7,558  2.55%            $7,042  2.53%                 $6,658  2.52%             $7,632  2.60%            $7,779  2.57%            $7,492  2.57%             $6,502  2.41%             $7,833  2.44%
Gross Revenue                                       $298,928 100.00%        $296,007 100.00%         $278,237 100.00%              $264,395 100.00%          $293,177 100.00%         $302,543 100.00%         $291,550 100.00%          $269,775 100.00%          $321,641 100.00%

Department Expenses
 Rooms
   Payroll
       Salaries & Wages                              $37,950    16.97%       $36,994    17.13%        $35,149   17.47%              $32,780   17.23%          $37,256    17.09%        $37,783    17.00%        $36,757    17.17%         $32,222    17.34%         $37,976    16.97%
       Payroll Taxes                                  $4,364     1.95%        $4,254     1.97%         $4,042    2.01%               $3,770    1.98%           $4,284     1.96%         $4,345     1.95%         $4,227     1.97%          $3,705     1.99%          $4,367     1.95%
       Employee Benefits                              $2,846     1.27%        $2,775     1.28%         $2,636    1.31%               $2,458    1.29%           $2,794     1.28%         $2,834     1.27%         $2,757     1.29%          $2,417     1.30%          $2,848     1.27%
       Contract Labor                                   $559     0.25%          $540     0.25%           $503    0.25%                 $476    0.25%             $545     0.25%           $556     0.25%           $535     0.25%            $464     0.25%            $560     0.25%
   Total Payroll                                     $45,720    20.45%       $44,562    20.64%        $42,331   21.04%              $39,483   20.75%          $44,879    20.58%        $45,517    20.48%        $44,276    20.68%         $38,808    20.89%         $45,751    20.44%

   Other Expenses
       Allocated F&B Payroll                          $1,754     0.78%        $1,840     0.85%         $1,701    0.85%               $1,659    0.87%           $1,679     0.77%         $1,743     0.78%         $1,701     0.79%          $1,827     0.98%          $2,037     0.91%
       Amenities & Supplies                           $3,913     1.75%        $3,779     1.75%         $3,521    1.75%               $3,329    1.75%           $3,816     1.75%         $3,890     1.75%         $3,746     1.75%          $2,787     1.50%          $3,917     1.75%
       Dues, Subscriptions & Services                 $2,236     1.00%        $2,159     1.00%         $1,710    0.85%               $1,427    0.75%           $1,853     0.85%         $1,889     0.85%         $1,819     0.85%          $1,393     0.75%          $1,902     0.85%
       Linen & Uniforms - Laundry & Replacement       $8,944     4.00%        $8,638     4.00%         $8,048    4.00%               $6,658    3.50%           $9,267     4.25%         $8,891     4.00%         $8,562     4.00%          $6,502     3.50%          $8,952     4.00%
       Travel Agent Commissions                      $22,360    10.00%       $21,595    10.00%        $20,120   10.00%              $18,072    9.50%          $22,895    10.50%        $22,226    10.00%        $21,406    10.00%         $17,648     9.50%         $23,500    10.50%
   Total Other Expenses                              $39,208    17.53%       $38,011    17.60%        $35,099   17.45%              $31,146   16.37%          $39,510    18.12%        $38,639    17.38%        $37,235    17.39%         $30,157    16.23%         $40,308    18.01%

 Total Rooms                                         $84,927    37.98%       $82,573    38.24%        $77,430   38.49%              $70,629   37.13%          $84,389    38.70%        $84,156    37.86%        $81,511    38.08%         $68,966    37.12%         $86,059    38.45%

 Food & Beverage
   Payroll
       Salaries & Wages                              $29,238 43.31%          $30,663 42.29%           $28,350 40.50%                $27,650 40.96%            $27,988 41.46%           $29,050 40.07%           $28,350 40.50%            $30,450 39.29%            $33,950 37.72%
       Payroll Taxes                                  $3,655   5.41%          $3,833   5.29%           $3,544   5.06%                $3,456   5.12%            $3,498   5.18%           $3,631   5.01%           $3,544   5.06%            $3,806   4.91%            $4,244   4.72%
       Employee Benefits                              $1,754   2.60%          $1,840   2.54%           $1,701   2.43%                $1,659   2.46%            $1,679   2.49%           $1,743   2.40%           $1,701   2.43%            $1,827   2.36%            $2,037   2.26%
       Contract Labor                                   $675   1.00%            $725   1.00%             $700   1.00%                  $675   1.00%              $675   1.00%             $725   1.00%             $700   1.00%              $775   1.00%              $900   1.00%
       Allocated to Other Departments                ($3,398) -5.03%         ($3,468) -4.78%          ($3,231) -4.62%               ($3,113) -4.61%           ($3,292) -4.88%          ($3,407) -4.70%          ($3,305) -4.72%           ($3,311) -4.27%           ($3,806) -4.23%
   Total Payroll                                     $31,923 47.29%          $33,592 46.33%           $31,063 44.38%                $30,327 44.93%            $30,548 45.26%           $31,742 43.78%           $30,990 44.27%            $33,547 43.29%            $37,325 41.47%

   Other Expenses
       Cost of Goods Sold                            $16,538    24.50%       $17,763    24.50%        $17,150   24.50%              $16,538   24.50%          $16,538    24.50%        $17,763    24.50%        $17,150    24.50%         $18,988    24.50%         $22,050    24.50%
       Equipment, Supplies & Services                 $7,425    11.00%        $7,975    11.00%         $7,700   11.00%               $6,750   10.00%           $7,425    11.00%         $7,975    11.00%         $7,700    11.00%          $7,750    10.00%          $9,900    11.00%
       Marketing & Promotion                          $6,413     9.50%        $6,888     9.50%         $6,650    9.50%               $6,413    9.50%           $6,413     9.50%         $6,888     9.50%         $6,650     9.50%          $7,363     9.50%          $9,450    10.50%
   Total Other Expenses                              $30,375    45.00%       $32,625    45.00%        $31,500   45.00%              $29,700   44.00%          $30,375    45.00%        $32,625    45.00%        $31,500    45.00%         $34,100    44.00%         $41,400    46.00%

 Total Food & Beverage                               $62,298    92.29%       $66,217    91.33%        $62,563   89.38%              $60,027   88.93%          $60,923    90.26%        $64,367    88.78%        $62,490    89.27%         $67,647    87.29%         $78,725    87.47%

Total Departmental Expenses                         $147,225    49.25%      $148,791    50.27%       $139,994   50.31%             $130,656   49.42%         $145,313    49.56%       $148,524    49.09%       $144,001    49.39%        $136,613    50.64%        $164,784    51.23%

Departmental Profit
   Rooms                                            $138,674 62.02%         $133,375 61.76%          $123,765 61.51%               $119,607 62.87%           $133,656 61.30%          $138,108 62.14%          $132,547 61.92%           $116,808 62.88%           $137,749 61.55%
   Food & Beverage                                    $5,202  7.71%           $6,283  8.67%            $7,437 10.62%                 $7,473 11.07%             $6,577  9.74%            $8,133 11.22%            $7,510 10.73%             $9,853 12.71%            $11,275 12.53%
   Rentals & Other Income                             $7,826 100.00%          $7,558 100.00%           $7,042 100.00%                $6,658 100.00%            $7,632 100.00%           $7,779 100.00%           $7,492 100.00%            $6,502 100.00%            $7,833 100.00%
Gross Operated Income                               $151,702 50.75%         $147,216 49.73%          $138,243 49.69%               $133,739 50.58%           $147,864 50.44%          $154,020 50.91%          $147,549 50.61%           $133,162 49.36%           $156,857 48.77%




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                                                                                                                                                                  16:35:26               Exhibit A
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                                                                                                                              Proposed
                                                                                                                                    Budget
                                                                                                                                        OrderPg Pg
                                                                                                                                                5 of
                                                                                                                                                   135
                                                                                                                                The Williamsburg Hotel of 21
                                                                                                                                    96 Wythe Acquisition LLC
                                                                                                                              9- Week Budget - Cash Collateral Motion


                                                   Nov-21 (11/1 to 11/7)   Nov-21 (11/8 to 11/14)   Nov-21 (11/15 to 11/21)       Nov-21 (11/22 to 11/28)   Dec-21 (11/29 to 12/5)   Dec-21 (12/6 to 12/12)   Dec-21 (12/13 to 12/19)   Dec-21 (12/20 to 12/26)   Dec-21 (12/27 to 1/2)
                                                      PTD           %         PTD           %          PTD          %                PTD          %            PTD           %          PTD           %          PTD           %           PTD           %           PTD           %
General Hotel Expenses
 Administrative and General
   Payroll
       Payroll                                        $38,023    12.72%       $37,984    12.83%        $36,507   13.12%              $35,993   13.61%          $36,710    12.52%        $36,838    12.18%        $36,688    12.58%         $36,059    13.37%         $37,097    11.53%
       Allocated F&B Payroll                             $598     0.20%          $592     0.20%           $556    0.20%                 $529    0.20%             $586     0.20%           $605     0.20%           $583     0.20%            $540     0.20%            $643     0.20%
       Banking & CC Processing Fees                    $8,370     2.80%        $8,288     2.80%         $7,791    2.80%               $7,271    2.75%           $8,209     2.80%         $8,471     2.80%         $8,163     2.80%          $7,554     2.80%          $9,006     2.80%
       Admin & General Expenses                        $7,174     2.40%        $7,104     2.40%         $6,678    2.40%               $5,949    2.25%           $7,329     2.50%         $7,261     2.40%         $6,997     2.40%          $6,340     2.35%          $7,880     2.45%
       Professional Fees (US Trustee)                  $2,280     0.76%        $2,287     0.77%         $2,154    0.77%               $2,038    0.77%           $2,270     0.77%         $2,317     0.77%         $2,253     0.77%          $2,131     0.79%          $2,483     0.77%
       Bankruptcy Professional Fees                    $5,000     1.67%        $5,000     1.69%         $5,000    1.80%               $5,000    1.89%           $5,000     1.71%         $5,000     1.65%         $5,000     1.71%              $0     0.00%          $5,000     1.55%
 Total Administrative & General                       $61,445    20.56%       $61,255    20.69%        $58,686   21.09%              $56,779   21.48%          $60,105    20.50%        $60,491    19.99%        $59,685    20.47%         $52,623    19.51%         $62,110    19.31%

 Information & Telecom
        Cost of Phone & Internet Services              $1,046    0.35%         $1,036    0.35%            $974    0.35%                 $925    0.35%           $1,026    0.35%          $1,059    0.35%          $1,020    0.35%             $944    0.35%           $1,126    0.35%
        System Expenses                                $2,989    1.00%         $2,960    1.00%          $2,782    1.00%               $2,644    1.00%           $2,932    1.00%          $3,025    1.00%          $2,915    1.00%           $2,698    1.00%           $3,216    1.00%
        Dues, Subscriptions, Supplies & Services       $1,495    0.50%         $1,480    0.50%          $1,391    0.50%               $1,322    0.50%           $1,466    0.50%          $1,513    0.50%          $1,458    0.50%           $1,349    0.50%           $1,608    0.50%
 Total Information & Telecom                           $5,530    1.85%         $5,476    1.85%          $5,147    1.85%               $4,891    1.85%           $5,424    1.85%          $5,597    1.85%          $5,394    1.85%           $4,991    1.85%           $5,950    1.85%

 Sales & Marketing
   Payroll
       Payroll                                        $13,339    4.46%        $13,318    4.50%         $13,195    4.74%              $13,098    4.95%          $13,299    4.54%         $13,364    4.42%         $13,287    4.56%          $13,136    4.87%          $13,497    4.20%
       Allocated F&B Payroll                             $448    0.15%           $444    0.15%            $417    0.15%                 $397    0.15%             $440    0.15%            $454    0.15%            $437    0.15%             $405    0.15%             $482    0.15%
       Dues, Subscriptions & Services                  $3,288    1.10%         $3,256    1.10%          $2,782    1.00%               $2,644    1.00%           $2,932    1.00%          $3,025    1.00%          $2,915    1.00%           $2,698    1.00%           $3,216    1.00%
       Marketing                                       $6,277    2.10%         $6,216    2.10%          $5,843    2.10%               $5,288    2.00%           $6,157    2.10%          $6,353    2.10%          $6,123    2.10%           $5,396    2.00%           $6,915    2.15%
 Total Sales & Marketing                              $23,353    7.81%        $23,235    7.85%         $22,237    7.99%              $21,427    8.10%          $22,827    7.79%         $23,197    7.67%         $22,763    7.81%          $21,634    8.02%          $24,111    7.50%

 Property Operations & Maintenance
   Payroll
       Payroll                                        $16,727    5.60%        $16,673    5.63%         $16,339   5.87%               $15,770   5.96%           $16,619    5.67%         $16,795    5.55%         $16,589    5.69%          $15,572    5.77%          $17,154    5.33%
       Allocated F&B Payroll                             $598    0.20%           $592    0.20%            $556   0.20%                  $529   0.20%              $586    0.20%            $605    0.20%            $583    0.20%             $540    0.20%             $643    0.20%
       Repairs & Maintenance                          $10,979    3.67%        $10,920    3.69%          $8,478   3.05%                $7,908   2.99%            $9,398    3.21%         $10,295    3.40%          $9,373    3.21%           $7,698    2.85%          $10,950    3.40%
       Supplies                                        $4,987    1.67%         $4,950    1.67%          $4,311   1.55%                $3,894   1.47%            $4,915    1.68%          $5,334    1.76%          $4,894    1.68%           $3,948    1.46%           $5,431    1.69%
 Total Property Operations & Maintenance              $33,290    11.14%       $33,135    11.19%        $29,684   10.67%              $28,101   10.63%          $31,518    10.75%        $33,029    10.92%        $31,440    10.78%         $27,757    10.29%         $34,179    10.63%

 Utility Costs                                        $11,060    3.70%        $10,952    3.70%         $10,295    3.70%               $9,518    3.60%          $10,994    3.75%         $11,194    3.70%         $10,787    3.70%           $9,982    3.70%          $11,901    3.70%

Total Undistributed Expenses                         $134,679    45.05%      $134,053    45.29%       $126,050   45.30%             $120,716   45.66%         $130,868    44.64%       $133,508    44.13%       $130,069    44.61%        $116,986    43.36%        $138,251    42.98%

Gross Operating Profit                                $17,023    5.69%        $13,163    4.45%         $12,194    4.38%              $13,023    4.93%          $16,996    5.80%         $20,511    6.78%         $17,480    6.00%          $16,176    6.00%          $18,607    5.78%

  Management Fee                                           $0    0.00%             $0    0.00%              $0    0.00%                   $0    0.00%               $0    0.00%              $0    0.00%              $0    0.00%               $0    0.00%               $0    0.00%
Income Before Fixed Charges                           $17,023    5.69%        $13,163    4.45%         $12,194    4.38%              $13,023    4.93%          $16,996    5.80%         $20,511    6.78%         $17,480    6.00%          $16,176    6.00%          $18,607    5.78%

Fixed Charges
  Property Taxes                                      $10,356    3.46%        $10,356    3.50%         $10,356    3.72%              $10,356    3.92%          $10,356    3.53%         $10,356    3.42%         $10,356    3.55%          $10,356    3.84%          $10,356    3.22%
  Total Insurance                                          $0    0.00%             $0    0.00%              $0    0.00%                   $0    0.00%           $4,500    1.53%          $4,500    1.49%          $4,500    1.54%           $4,500    1.67%           $4,500    1.40%
Total Fixed Charges                                   $10,356    3.46%        $10,356    3.50%         $10,356    3.72%              $10,356    3.92%          $14,856    5.07%         $14,856    4.91%         $14,856    5.10%          $14,856    5.51%          $14,856    4.62%

EBITDA                                                 $6,668    2.23%         $2,807    0.95%          $1,838    0.66%               $2,667    1.01%           $2,140    0.73%          $5,656    1.87%          $2,624    0.90%           $1,320    0.49%           $3,751    1.17%




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